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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

GODINA JONES, CIVIL ACTION

Plaintiff, C.A. No.
VS.

MICHAEL E. LAMB, PROTHONOTARY

OF THE COURT OF COMMON PLEAS

OF ALLEGHENY COUNTY, PENNSYLVANIA,
and CONSTABLE JOHN A. SNYDER,

Defendants.

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ORDER OF COURT

AND NOW, this day of July, 2005, upon consideration of the foregoing
Motion and for good cause shown, it is hereby ORDERED and DIRECTED, that the
Plaintiff, Godina Jones, shall be, and is therefore, granted leave to proceed in this

action in forma pauperis.

United States District Court Judge
